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                    6    Specially Appearing For
                         KING & SPALDING LLP
                    7

                    8                                       UNITED STATES DISTRICT COURT
                    9                                 NORTHERN DISTRICT OF CALIFORNIA
                  10

                  11     WHATSAPP INC., a Delaware                         Case No. 4:19-cv-07123-PJH
                         corporation, and FACEBOOK, INC., a
                  12     Delaware corporation,                             DECLARATION OF JESSICA R.
                                                                           MACGREGOR IN SUPPORT OF JOINT
                  13                          Plaintiffs,                  STIPULATION AND [PROPOSED]
                                                                           ORDER TO ENLARGE TIME FOR
                  14     v.                                                DEFENDANTS TO OPPOSE PLAINTIFFS’
                                                                           MOTION TO DISQUALIFY AND
                  15     NSO GROUP TECHNOLOGIES                            PLAINTIFFS’ REPLY IN SUPPORT OF
                         LIMITED and Q CYBER                               THEIR MOTION TO DISQUALIFY
                  16     TECHNOLOGIES LIMITED,
                                                                           Date:      May 15, 2020
                  17                          Defendants.                  Courtroom: 3

                  18                                                       Judge:       Hon. Phyllis J. Hamilton

                  19              I, Jessica R. MacGregor, declare:

                  20              1.     I am an attorney licensed to practice law in the State of California and am a partner

                  21     at Long & Levit LLP. I have personal knowledge of the matters stated in this declaration and, if

                  22     called upon to testify as a witness, could and would competently testify thereto.

                  23              2.     Long & Levit LLP is specially appearing for King & Spalding. Defendants were

                  24     not served with an unredacted version of the Motion to Disqualify Defense Counsel (“Motion”)

                  25     until May 8, 2020.

                  26              3.     I am currently coordinating with nonparty, Department of Justice (“DOJ”), to

                  27     permit it to seek redactions and sealing of the opposition and supporting declarations and exhibits

                  28     we will be filing.
LONG & LEVIT LLP
465 CALIFORNIA STREET,                                                                   DECLARATION OF JESSICA R. MACGREGOR
      5TH FLOOR                                                                                                4:19-cv-07123-PJH
    SAN FRANCISCO,
   CALIFORNIA 94104
                           Case 4:19-cv-07123-PJH Document 72-1 Filed 05/18/20 Page 2 of 3



                    1              4.     I participated in a call on May 13, 2020 with DOJ attorneys, who asked for at least

                    2    three days to review the opposition and supporting evidence. This compresses the briefing

                    3    schedule.

                    4              5.     On May 13, 2020, my partner, Joe McMonigle, emailed Plaintiffs’ counsel

                    5    proposing mutual one-week extensions to the briefing schedule.

                    6              6.     The parties have agreed to modify the schedule as follows, subject to Court

                    7    approval:

                    8                     a.      Defendants’ time to file an Opposition to WhatsApp’s Motion to

                    9                             Disqualify Defense Counsel is extended one week, from May 22, 2020 to

                  10                              May 29, 2020.

                  11                      b.      Plaintiffs’ time to file a reply briefing is extended one week, from June 5,

                  12                              2020 to June 12, 2020.

                  13               7.     The Parties have conferred and agree that enlarging their time to (respectively)

                  14     oppose and reply in support of the Motion will allow the Parties sufficient time to coordinate with

                  15     the DOJ to ensure the protective order is not violated.

                  16               8.     The Parties have been granted two previous time modifications in this case: (1)

                  17     Plaintiffs’ request to reschedule a Case Management Conference prior to service of the summons

                  18     and complaint on Defendants; and (2) a Joint Stipulation to Enlarge Time for Plaintiffs to Oppose

                  19     Defendants’ Motion to Dismiss. There have been no other modifications to deadlines in this

                  20     matter.
                  21               9.     The requested modification would only modify the dates for the moving papers

                  22     discussed herein. This modification would not affect any other dates or deadlines pending before

                  23     this Court, as no case schedule has been set.

                  24               I declare under penalty of perjury under the laws of the State of California that the

                  25     foregoing is true and correct of my own personal knowledge.

                  26     ***
                  27     ***

                  28     ***
LONG & LEVIT LLP
                                                                                           DECLARATION OF JESSICA R. MACGREGOR
465 CALIFORNIA STREET,
      5TH FLOOR                                                            -2-                                   4:19-cv-07123-PJH
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                    1             Executed this 15th day of May, 2020, at San Francisco, California.

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                    3                                                     /s/ Jessica R. MacGregor
                                                                       Jessica R. MacGregor
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                         4827-9524-6780, v. 1
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LONG & LEVIT LLP
                                                                                        DECLARATION OF JESSICA R. MACGREGOR
465 CALIFORNIA STREET,
      5TH FLOOR                                                         -3-                                   4:19-cv-07123-PJH
    SAN FRANCISCO,
   CALIFORNIA 94104
